                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE

UNITED STATES OF AMERICA,          )
                                   )
                 Plaintiff,        )
                                   )
v.                                 )                             No. 3:10-CR-149
                                   )
LARRY JAMES SEYMORE,               )
REMARCUS BOWDEN,                   )
LEONARDO WILLIAMS,                 )                             (PHILLIPS/GUYTON)
SKYE MANN-EVANS, THOMAS RILEY,     )
PRESTON FRANKLIN ADAMS,            )
CHARLES R. AGEE,                   )
WILLIAM J.M. BRADLEY,              )
JAY WILLIAM CODY, PAUL W. DURNELL, )
GEORGE M. EBERLINE,                )
RICHARD GETTIS, JR.,               )
STEVEN L. GLOVER, LEROY GUNN,      )
GARY A. HAWKINS, STEVIE B. ISAACS, )
MARK LAWRENCE MICHALEC,            )
THAD WILLIAM MORRIS,               )
DORIS MARIE PARKER,                )
TRAVIS WAYNE PERKINS,              )
EDWIN ROSARIO, THOMAS J RUCHTI,    )
WADE FREEMAN SEEBER,               )
RHONDA GAIL SHELTON,               )
DAVID R. SPURLOCK,                 )
NICKY LYNN SWEAT, STACY N. THOMAS, )
JAMES M. TIMOCKO,                  )
DONALD MICHAEL TURPIN, and         )
GREGORY WHITFIELD,                 )
                                   )
                 Defendants.       )

                               MEMORANDUM AND ORDER

               All pretrial motions in this case have been referred to the undersigned pursuant to 28

U.S.C. § 636(b) for disposition or report and recommendation regarding disposition by the District



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   Case 3:10-cr-00149-PLR-HBG            Document 168         Filed 01/11/11      Page 1 of 10
                                         PageID #: 380
Court as may be appropriate. This case came before the Court on January 5, 2011, for a scheduled

pretrial conference and motion hearing on four pending motions to continue the trial [Docs. 126,

151, 153, and 155]. Assistant United States Attorney D. Gregory Weddle and Matthew T. Morris

appeared on behalf of the Government. The following Defendants were present along with their

counsel: Defendant Larry Seymore represented by Attorney Bruce Poston; Defendant Preston

Franklin Adams represented by Attorney James H. Varner, Jr; Defendant Paul W. Durnell

represented by Attorney Randall E. Reagan; Defendant George M. Eberline represented by Attorney

R. Alexander Brown; Defendant Leroy Gunn represented by Attorney Jonathan Wood; Defendant

Gary A. Hawkins represented by Attorney Mike Whalen; Defendant Stevie B. Isaacs represented by

Karmen L. Waters; Defendant Mark Lawrence Michalec represented by Stephen G. McGrath;

Defendant Edwin Rosario represented by Attorney Charles C. Burks, Jr.; Defendant Wade Freeman

Seeber represented by Attorney Russell T. Greene; Defendant Rhonda Gail Shelton represented by

Attorney Gerald L. Gulley, Jr.; Defendant Nicky Lynn Sweat represented by Attorney Mark E.

Brown; and Defendant Donald Michael Turpin represented by Attorney Steven G. Shope. Attorneys

Paula R. Voss, Robert L. Vogel, and Ursula Bailey were also present but their clients were permitted

to waive [see Docs. 160, 166, and 167] their appearance at the hearing. Defendant Thomas J. Ruchti

was present at the hearing, but his counsel Attorney Donny M. Young was excused. Neither

Defendant Doris Marie Parker, nor her counsel Attorney Leslie M. Jeffress were present.

               The Government [Doc. 126] and Defendants Shelton [Doc. 151], Mann-Evans [Doc.

153], and Bowden [Doc. 155] asked the Court to continue the January 19 trial date. The




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   Case 3:10-cr-00149-PLR-HBG            Document 168         Filed 01/11/11     Page 2 of 10
                                         PageID #: 381
Government argues that seventeen1 of the thirty Defendants charged in this case have entered the

case, three are set for initial appearance and arraignment after the trial date, and the other ten remain

at large. The Government contends that the interest of justice is furthered by trying all of the

Defendants together and that interest outweighs the interest of the public and the Defendants in a

speedy trial.

                Defendant Leonardo Williams filed a response [Doc. 158], opposing the

Government’s motion to continue the trial. Defendant Williams maintains that the Government

chose when and against whom to seek an indictment and that it should have been ready to proceed

when it brought an indictment charging thirty Defendants. He argues that the Government’s interest

in locating and arresting the remaining Defendants does not outweigh the Defendants’ interest in a

speedy trial. Rather than continuing the trial, Defendant Williams contends that the Government

should dismiss or sever the missing Defendants.

                Defendant Shelton asks [Doc. 151] the Court to continue the trial and extend the

motion-filing deadline because her attorney needs additional time to investigate the case and to

prepare pretrial motions. She states that the recent inclement weather and counsel’s commitments

in other federal cases have prevented him from meeting with her regarding pretrial motions.

Defendant Mann-Evans also asks [Doc. 153] for a continuance and a new motion deadline to permit

counsel additional time to prepare for trial. Finally, Defendant Remarcus Bowden [Doc. 155] asks

the Court for a continuance because his attorney needs additional time to complete her investigation

of the case, to advise the Defendant on pretrial motions and trial strategy, and to locate and interview


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       Following the filing of the Government’s motion on December 20, 2010, Defendant
Leroy Gunn was arraigned just before the pretrial conference, bringing the total to eighteen
Defendants, who have entered the case.

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   Case 3:10-cr-00149-PLR-HBG              Document 168          Filed 01/11/11       Page 3 of 10
                                           PageID #: 382
witnesses. Defendant Bowden also asks [Doc. 157] the Court to reopen the motion-filing deadline.

               At the January 5 hearing, the Court heard additional argument with regard to the

requested continuance. Attorney Vogel, representing Defendant Williams, stated that while he did

not oppose a continuance in principle, he did object to any time being excluded under the Speedy

Trial Act for the Government to locate the missing Defendants.2 He argued that a continuance for

this reason would violate the Speedy Trial Act and the Defendants’ Sixth Amendment right to a

speedy trial. He did not object to a short continuance “within the speedy trial time,” nor was his

response [Doc. 158] intended to oppose his codefendants’ motions for a continuance.

               Attorney Poston, representing Defendant Seymore, opposed the motions to continue

by both the Government and his codefendants. He stated that Defendant Seymore was in custody

and was ready to go to trial on January 19, as scheduled. Mr. Poston argued that the Government’s

problem with rounding up all of the codefendants was a problem of its own making. He asked to

be severed from the case, if the Court granted the requested continuance.

               The Government responded that it had been diligent in bringing the Defendants into

this case. It noted that Defendant Gunn had joined the case that morning and that three other

Defendants were scheduled for an initial appearance and arraignment in this case on January 20 and

February 1, 2011. It contended that these Defendants would need time to prepare for trial and that

the other Defendants in the case, such as Defendants Williams and Seymore, were joined to these

Defendants for trial and, thus, tied to the same speedy trial clock. Moreover, it characterized the



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        The Court notes that despite Defendant Williams’ position taken in his response and at
the motion hearing, Defendant Williams presented a sworn affidavit [Doc. 167] to the Court at
the hearing, stating that he had discussed his right to a speedy trial with his attorney and that he
had “no objection to the government’s motion to continue the trial of this matter.”

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   Case 3:10-cr-00149-PLR-HBG             Document 168         Filed 01/11/11       Page 4 of 10
                                          PageID #: 383
Defendants’ motions to continue as reasonable. Finally, the Government stated its intention to bring

a superseding indictment against Defendants Williams and Seymore on January 19, 2011. It argued

that the new charges in this superseding indictment would essentially restart the speedy trial clock

with regard to the Defendants named therein.

               The Court finds the motions to continue the January 19, 2011 trial to be well-taken

and that the ends of justice served by granting a continuance outweigh the interest of the Defendants

and the public in a speedy trial. 18 U.S.C. § 3161(h)(7)(A). This case arises out of a single-count

Indictment [Doc. 1], charging thirty Defendants with conspiracy to commit bank fraud. Not

including the motions to continue the trial and motion deadlines, the Defendants presently have

twenty-four pending motions. 18 U.S.C. § 3161(h)(1)(D). Defendant Williams, who presently

objects to a continuance, has eleven pending motions. At least one of the currently pending motions,

Defendant Bowden’s Motion to Suppress All Out-of-Court Identification of the Defendant [Doc.

154], could involve the taking of evidence. Due to the number and nature of the pending motions,

the Court finds that the time required to determine the issues raised therein creates excludable time.

See United States v. Tinklenberg, 579 F.3d 589, 598 (6th Cir. 2009) (“hold[ing] that a pretrial

motion must actually cause a delay, or the expectation of a delay, of trial in order to create

excludable time”), rehg and rehg en banc denied (Jan. 12, 2010).

               Additionally, the Court observes that Defendant Gunn entered the case on the day of

the pretrial conference and motion hearing. His counsel needs time to review discovery and to file

pretrial motions. Once all pretrial motions are filed, the Court will need time to hear the motions

and time, not to exceed thirty days, to rule on them. 18 U.S.C. § 3161(h)(1)(H). In the event that

Defendant Gunn, or another codefendant requesting additional time to file motions, files a



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   Case 3:10-cr-00149-PLR-HBG             Document 168         Filed 01/11/11       Page 5 of 10
                                          PageID #: 384
dispositive motion, time would be needed for either party to file any objections and for the District

Court to rule. Thereafter, the parties would need time to prepare for trial in light of the rulings on

the pretrial motions. The Court finds that all of this cannot take place before January 19, 2011 trial

date or in less than four and one-half months. Accordingly, the failure to grant a continuance in this

case would deny counsel for all of the Defendants with pending motions or who seek to file motions

(Defendants Bowden, Mann-Evans, Adams, Durnell, Eberline, Gunn, Rosario, Shelton, and even

counsel for Defendant Williams) the reasonable time necessary for effective trial preparation, despite

counsels’ exercise of due diligence. 18 U.S.C. § 3161(h)(7)(B)(iv).

                The Court observes that the Speedy Trial Act contemplates the granting of an ends-of-

justice continuance in order to permit either defense counsel or “the attorney for the Government the

reasonable time necessary for effective preparation, taking into account the exercise of due

diligence.” 18 U.S.C. § 3161(h)(7)(B)(iv). At the hearing, AUSA Weddle stated that the

Government has been working diligently to bring the Defendants charged in the Indictment before

the Court. The Court has no reason to believe that this is not the case. As such, the Court finds that

the need for this continuance is not caused by “a lack of diligent preparation or failure to obtain

available witnesses on the part of the attorney for the Government.” 18 U.S.C. § 3161(h)(7)(C). In

light of the diligent efforts on the part of the Government thus far, the Court finds that the

Government’s interest in locating and obtaining additional Defendants in order to proceed to a trial

of all Defendants is not outweighed by the best interest of the public and the Defendants in a speedy

trial. This is particularly true given that a number of Defendants also need the four-and-one-half-

month delay in the trial to litigate pretrial motions.

                Additionally, the Court notes that excluded from the speedy trial calculation is a



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   Case 3:10-cr-00149-PLR-HBG              Document 168        Filed 01/11/11      Page 6 of 10
                                           PageID #: 385
“reasonable period of delay when the defendant is joined for trial with a codefendant as to whom the

time for trial has not run and no motion for severance has been granted.” 18 U.S.C. § 3161(h)(6).3

Under this provision, time excludable as to one defendant is excludable to all codefendants. United

States v. Holyfield, 802 F.2d 846, 847-48 (6th Cir. 1986).           Unlike some periods of delay

automatically excluded by the Act, delay caused by joinder with a codefendant must be reasonable.

Henderson v. United States, 476 U.S. 321, 327 (1986). In assessing the reasonableness of delay

attributed to codefendants, courts should be guided by the policies supporting the enactment of

section 3161(h)(6) (formerly 3161(h)(7)):

                        The legislative history of this section demonstrates a strong
                Congressional preference for joint trials and an intention that delays
                attributable to the joinder of defendants be liberally excluded.
                Further, the purpose of this section is to insure that the Speedy Trial
                Act does not alter the present rules governing severance of
                co-defendants by forcing the government to prosecute the defendants
                separately or be subject to a speedy trial dismissal motion.


United States v. Monroe, 833 F.2d 95, 100 (6th Cir. 1987) (citations omitted). In other words,

Congress expressly favored the goals of efficiency and economy resulting from multi-defendant trials

despite the loss of speed that would result from a severance. See id. This policy behind section

(h)(6) supports the Government’s argument that delaying trial for the entry of the missing Defendants

would further the ends of justice, although the Court notes that in conducting an ends-of-justice

analysis this interest must be balanced against the best interest of the Defendants already in this case

and that of the public in a speedy trial.

                In the present case, Defendants Seymore and Williams, stand indicted with Defendant


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       Section 3161(h)(6) was formerly numbered 18 U.S.C. § 3161(h)(7). Congress
renumbered this section, effective October 2008, without changing its language.

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   Case 3:10-cr-00149-PLR-HBG               Document 168        Filed 01/11/11       Page 7 of 10
                                            PageID #: 386
Gunn, who just entered the case; Defendants Bowden, Adams, Durnell, Eberline, and Rosario, who

all have pending motions; and Defendants Mann-Evans and Shelton, who along with Defendant

Bowden, seek to file pretrial motions. Defendants Seymore and Williams4 have objected to the

requested continuance as violating their right to a speedy trial. The Court takes this objection to be

a contention that the four-and-one-half-month continuance requested by the listed Codefendants is

unreasonable. Further, Counsel for Defendant Seymore summarily requested that if the continuance

is granted, the Court should sever him from the trial of his Codefendants and permit him to proceed

to trial on January 19, 2011.

                The Court finds that the delay caused by the Codefendants’ need to investigate the

case, to litigate their pretrial motions, and to prepare for trial in light of same to be reasonable. The

Court has already found that a continuance of the January 19, 2011 trial date was necessary to give

counsel for certain Defendants time to prepare and to litigate pretrial motions. This is particularly

true for Defendant Gunn, who just entered the case. For these reasons, the Court finds that the four-

and-one-half-month delay in trial attributable to Defendant Gunn, those Defendants with pending

motions, and those Defendants seeking to file motions is reasonable. Accordingly, this delay is also

attributable to Defendants Seymore and Williams. 18 U.S.C. § 3161(h)(6).

                Finally, the Court declines to grant Defendant Seymore’s summary request to be

severed for a separate trial on January 19, 2011. Defendant Seymore did not demonstrate how he

is prejudiced by a joint trial, other than the fact that he will remain in custody pending the new trial



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         Although it appears that Defendant Williams does not object to granting a continuance
for his codefendants but only to the continuance requested by the Government, the result would
be the same. Accordingly, the Court will treat Defendant Williams as objecting to any
continuance.

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   Case 3:10-cr-00149-PLR-HBG              Document 168          Filed 01/11/11       Page 8 of 10
                                           PageID #: 387
date. See Fed. R. Crim. P. 14. As a general rule, severance should be granted only if a defendant

can show “substantial,” “undue,” or “compelling” prejudice. United States v. Warner, 971 F.2d

1189, 1196 (6th Cir. 1992). Although the Court declines to sever Defendant Seymore at this time,

the Court has extended the motion deadline for all Defendants. Defendant Seymore may file a

motion to be severed from the trial of his Codefendants by the new motion-filing deadline, should

he choose to do so.

               Accordingly, the motions to continue the trial [Docs. 126, 151, 153, and 155] are

GRANTED, and the trial of this matter is reset to May 31, 2011. The Court also finds that all the

time between the January 5, 2011 hearing and the new trial date of May 31, 2011, is fully excludable

time under the Speedy Trial Act for the reasons set forth herein. See 18 U.S.C. § 3161(h)(1)(D), -

(1)(H), -(6), & -(7)(A)-(B). The requests [Doc. 157] to extend the motion-filing deadline are also

GRANTED. All Defendants may file any additional pretrial motions by February 21, 2011. The

Government must respond to all presently pending pretrial motions by February 21, 2011. The

response deadline for any new motions filed after January 5, 2011, is March 11, 2011. The parties

with pretrial motions are to appear before the undersigned for a motion hearing on March 29, 2011,

at 9:00 a.m. The deadline for completing plea negotiations in this case is April 29, 2011. The

Court has set a final pretrial conference in this case on May 17, 2011, at 11:00 a.m. The Court

instructs the parties that all motions in limine are due on or before May 16, 2011. Special requests

for jury instructions shall be submitted to the District Court no later than May 20, 2011, and shall

be supported by citations of authority pursuant to Local Rule 7.4. E.D.TN. LR 7.4.

               Accordingly, it is ORDERED:

               (1) The motions to continue the trial [Docs. 126, 151, 153, and 155]
               are GRANTED;

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   Case 3:10-cr-00149-PLR-HBG            Document 168         Filed 01/11/11     Page 9 of 10
                                         PageID #: 388
         (2) The trial of this matter is reset to commence on May 31, 2011, at
         9:00 a.m., before the Honorable Thomas W. Phillips, United States
         District Judge;

         (3) All time between the January 6, 2011 hearing, and the new trial
         date of May 31, 2011, is fully excludable time under the Speedy Trial
         Act for the reasons set forth herein;

         (4) The Government is to respond to any presently pending pretrial
         motions by February 21, 2011;

         (5) Defendant Remarcus Bowden’s Motion to Permit the Filing of
         Additional Motions [Doc. 157] and the requests for additional time
         to file motions made by Defendants Skye Mann-Evans and Rhonda
         Gail Shelton in their motions to continue the trial are GRANTED;

         (6) All Defendants may file additional pretrial motions by February
         21, 2011;

         (7) The deadline for responding to any new pretrial motions is March
         11, 2011;

         (8) The Court will hold a motion hearing on all pending pretrial
         motions on March 29, 2011, at 9:00 a.m.;

         (9) The new plea negotiation deadline is April 29, 2011;

         (10) A final pretrial conference before the undersigned is set for May
         17, 2011, at 11:00 a.m.;

         (11) Motions in limine must be filed on or before May 16, 2011; and

         (12) Special requests for jury instructions must be submitted to the
         District Court by May 20, 2011.

         IT IS SO ORDERED.

                                               ENTER:

                                                    s/ H. Bruce Guyton
                                               United States Magistrate Judge




                                          10


Case 3:10-cr-00149-PLR-HBG         Document 168        Filed 01/11/11      Page 10 of 10
                                   PageID #: 389
